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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                                   )
CHARLES M. KUPPERMAN,                              )
                                                   )
                    Plaintiff,                     )
                                                   )
JOHN MICHAEL MULVANEY,                             )
                                                   )
                    Proposed Intervenor-Plaintiff, )
                                                   )
        v.                                         ) Civil Action No. 1:19-cv-03224-RJL
                                                   )
UNITED STATES HOUSE OF                             )
REPRESENTATIVES,                                   )
                                                   )
                    Defendant,                     )
                                                   )
THE HONORABLE DONALD J. TRUMP,                     )
in his official capacity as President of the       )
United States,                                     )
                                                   )
                    Defendant,                     )
                                                   )
THE HONORABLE NANCY PELOSI,                        )
in her official capacity as Speaker of the         )
United States House of Representatives,            )
                                                   )
                    Defendant,                     )
                                                   )
THE HOUSE PERMANENT SELECT                         )
COMMITTEE ON INTELLIGENCE,                         )
                                                   )
                    Proposed Defendant,            )
                                                   )
THE HONORABLE ADAM B. SCHIFF,                      )
in his official capacity as Chairman of the        )
House Permanent Select Committee                   )
on Intelligence,                                   )
                                                   )
                    Defendant,                     )
                                                   )
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THE HOUSE COMMITTEE ON FOREIGN                  )
AFFAIRS,                                        )
                                                )
                    Proposed Defendant,         )
                                                )
THE HONORABLE ELIOT L. ENGEL,                   )
in his official capacity as Chairman of the     )
House Committee on Foreign Affairs,             )
                                                )
                    Defendant,                  )
                                                )
THE HOUSE COMMITTEE ON OVERSIGHT                )
AND REFORM,                                     )
                                                )
                    Proposed Defendant,         )
                                                )
THE HONORABLE CAROLYN B. MALONEY, )
in her official capacity as Acting Chair of the )
House Committee on Oversight and Reform,        )
                                                )
                    Defendant.                  )
__________________________________________)

                                             NOTICE

       John Michael Mulvaney, through undersigned counsel, hereby provides notice of the

following:

       After further consideration, Mr. Mulvaney does not intend to pursue litigation regarding

the deposition subpoena issued to him by the U.S. House of Representatives. Rather, he will rely

on the direction of the President, as supported by an opinion of the Office of Legal Counsel of

the U.S. Department of Justice, in not appearing for the relevant deposition.

       In light of the above representation, Mr. Mulvaney respectfully suggests that there no

longer is a need for the status conference set by this Court for this afternoon, and thus that the

Court may wish to vacate that conference.

       Mr. Mulvaney appreciates the time of the Court in considering his motion to intervene,

and the opportunity to be heard on that motion.



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                                          Respectfully submitted,


DATED: November 12, 2019                  /s/ William Pittard
                                          William Pittard (DC Bar No. 482949)
                                          Christopher C. Muha (DC Bar No. 987116)
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                                          Attorneys for John Michael Mulvaney




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